         Case 5:18-cr-00227-SLP Document 198 Filed 01/03/22 Page 1 of 1

                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA
                                                     NOTICE OF HEARING
vs.
                                                     Case Number CR-18-227-SLP
JOSEPH MALDONADO-PASSAGE

Defendant Detained


Type of Case                     CIVIL                             X           CRIMINAL


TAKE NOTICE

That a proceeding in this case has been scheduled for the place, date and time set forth below:


Place: U.S. Courthouse                                   DATE AND TIME
       Courtroom 304
       200 N.W. 4th Street                         JANUARY 28, 2022 @ 10:00 a.m.
       Oklahoma City, Oklahoma 73102

All attorneys and other persons entering the U.S. Courthouse will be required to show valid
photo identification.


TYPE OF PROCEEDING                                   RESENTENCING




TAKE NOTICE: that the proceeding has been rescheduled as indicated below:


Place: U.S. Courthouse                               Date and Time Previously Scheduled
       200 N.W. 4th Street
       Oklahoma City, Oklahoma 73102


                                                     JUDGE SCOTT L. PALK

                                                     by: /s/ Marcia J. Davis
                                                             Deputy Clerk
cc:    AUSA
       COUNSEL
       USMS
       USPO
